                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 JOSE ORTEGA HERNANDEZ,
 on behalf of himself, FLSA Collective Plaintiffs,            Case No.: 1:20-cv-03109 (VF)
 and the Class,

                                    Plaintiff,

           -against-

 NHR HUMAN RESOURCES, LLC, NEW HOLLAND
 RESIDENCES, LLC, SUGAR HILL CAPITAL
 PARTNERS LLC, MARGARET GROSSMAN, and
 JEREMY SALZBERG,

                                   Defendants

       ORDER GRANTING (1) PLAINTIFF’S UNOPPOSED MOTION FOR
  CERTIFICATION OF THE SETTLEMENT CLASS, FINAL APPROVAL OF THE
CLASS ACTION SETTLEMENT, AND APPROVAL OF THE FLSA SETTLEMENT; (2)
PLAINTIFF’S UNOPPOSED MOTION FOR APPROVAL OF PLAINTIFF’S SERVICE
    AWARD; (3) PLAINTIFF’S UNOPPOSED MOTION FOR APPROVAL OF
                         ATTORNEYS’ FEES

       After participating in a private mediation session, and despite their adversarial positions in

this matter, Named Plaintiff Jose Ortega Hernandez (“Plaintiff”) and Defendants NHR Human

Resources, LLC, New Holland Residences, LLC, Sugar Hill Capital Partners LLC, Margaret

Grossman, and Jeremy Salzberg (collectively “Defendants”, and with Plaintiff, the “Parties”)

negotiated a settlement of this litigation. The terms of the proposed settlement (“Settlement”) are

set forth in two proposed agreements: the Settlement Agreement and Release (“Settlement

Agreement”) and Settlement and General Release Agreement (“General Release Agreement”).

       On January 11, 2022, Plaintiff filed for preliminary approval of the settlement, which, for

settlement purposes only, Defendants did not oppose. Declaration of C.K. Lee in Support of




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Plaintiff’s Motion for Certification of the Settlement Class, Final Approval of the Class Action

Settlement and Plan of Allocation, and Approval of the FLSA Settlement (“Lee Decl.”) ¶ 14.

       On February 15, 2022, Honorable Debra Freeman, U.S.M.J. entered an Order preliminarily

approving the settlement on behalf of the Rule 23 class and FLSA collective set forth therein (the

“Class” or the “Class Members”), conditionally certifying the settlement class, appointing Lee

Litigation Group, PLLC as Class Counsel, appointing Advanced Litigation Strategies, LLC as

Settlement Administrator, and authorizing notice to all Class Members (the “Preliminary Approval

Order”). (ECF Dkt. No. 65).

       On June 21, 2022, Plaintiff filed a Motion for Certification of the Settlement Class, Final

Approval of the Class Action Settlement and Approval of the FLSA Settlement (“Motion for Final

Approval”), which for settlement purposes only, Defendants did not oppose. That same day,

Plaintiff also filed Motions for Approval of Attorneys’ Fees and Reimbursement of Expenses

(“Motion for Attorneys’ Fees”) and for a Service Award (“Motion for Service Award”). The

motions were unopposed and Defendants did not object to the requests for attorneys’ fees, costs,

or service payments.

       The Court held a fairness hearing on October 12, 2022. No Class Member objected to

the settlement at the hearing.

       Having considered the Motion for Final Approval, the Motion for Attorneys’ Fees Costs

and Expenses, the Motion for Service Awards, and the supporting declarations, the oral argument

presented at the October 12, 2022 fairness hearing, and the complete record in this matter,

for the reasons set forth therein and stated on the record at the October 12, 2022 fairness hearing,

and for good cause shown,

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:



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         1.     Except as otherwise specified herein, the Court for purposes of this Order adopts

all defined terms as set forth in the Settlement Agreement and General Release Agreement.

         2.     The Court approves and incorporates herein by reference the releases and waivers

set forth in the Settlement Agreement and General Release Agreement, which shall be binding in

accordance with the terms set forth therein.

         3.     This Court has jurisdiction over the subject matter of this Litigation under 28 U.S.C. §1331
         and 28 U.S.C. §1367, and it has personal jurisdiction over all parties to this action, including all
         settlement class members, preliminarily certified by Order dated February 15, 2022 (ECF No. 65).

         4.     The Court hereby adopts and finally approves, for the purpose of this Order, the

definition of the settlement “Class” as that term is defined in the Preliminary Approval Order (ECF No. 65).

         5.     Pursuant to Rule 23, the Court confirms as final its certification of the Class for

settlement purposes based on its findings in the Preliminary Approval Order and in the absence of

any objections from Class Members to such certification.

         6.     Pursuant to 29 § U.S.C. 216(b), the Court approves the FLSA Settlement and

certifies the collective class under the FLSA based on its findings in the Preliminary Approval

Order.

         7.     The Court confirms as final the appointment of Plaintiff Jose Ortega Hernandez, as

representative of the Class, both under Federal Rule of Civil Procedure 23 and 29 U.S.C. § 216(b).

         8.     The Court likewise confirms as final the appointment of C.K. Lee of Lee Litigation

Group PLLC as Class Counsel for the Class pursuant to Federal Rule of Civil Procedure 23 and

for individuals who opted into the Litigation pursuant to 29 U.S.C. § 216(b).

         9.     The Court finds that the requirements of the Class Action Fairness Act, 28 U.S.C.

§1715 (CAFA), have been satisfied. On January 21, 2022, Defendants mailed CAFA notices to

the appropriate federal and state officials, more than ninety (90) days have passed, and no comment



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or objection has been received from any government official with regard to the proposed

settlement, the Court finds the requirements of CAFA have been satisfied, and this Order granting

final approval of the settlement is now appropriate. See 28 U.S.C. §1715(d), (e)(2); see also In re

Processed Egg Products Antitrust Litigation, 284 F.R.D. 278, 287 n.10 (E.D.Pa. 2012) (granting

final approval of the class action settlement after order of approval held in abeyance until the

expiration of the 90-day notice period, and holding that “although the notice requirements under

CAFA have not been fully met on a technical basis, the substance of the requirements have been

satisfied insofar as giving federal and state officials sufficient notice and opportunity to be heard

concerning the [settlement].”) (citing D.S. ex rel. S.S. v. New York City Dep’t of Educ., 255 F. R.D.

59, 80 (E.D.N.Y. 2008).

       10.     The Court finds that the Class Notice and Collective Notice given to Class Members

pursuant to the Preliminary Approval Order constituted the best notice practicable under the

circumstances, was accomplished in all material respects, and fully met the requirements of Rule

23, the Fair Labor Standards Act, and due process.

       11.     Pursuant to Rule 23(e), this Court hereby grants the Motion for Final Approval and

finally approves the settlement as set forth therein. The Court finds that the settlement is fair,

reasonable and adequate in all respects and that it is binding on Class Members who did not timely

opt out pursuant to the procedures set forth in the Preliminary Approval Order. The Court

specifically finds that the settlement is rationally related to the strength of Plaintiff’s claims given

the risk, expense, complexity, and duration of further litigation.

       12.     The Court finds that the proposed settlement is procedurally fair because it was

reached through vigorous, arm’s-length negotiations and after experienced counsel had evaluated

the merits of Plaintiff’s claims through factual and legal investigation. Wal-Mart Stores, Inc. v.



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Visa U.S.A., Inc., 396 F.3d 96, 117 (2d Cir. 2005).

       13.     The settlement is also substantively fair. All of the factors set forth in Grinnell,

which provides the analytical framework for evaluating the substantive fairness of a class action

settlement, weigh in favor of final approval. City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d

Cir. 1974). Therefore, the Court finds that the settlement is adequate given: (1) the complexity,

expense and likely duration of the litigation; (2) the stage of the proceedings and the amount of

discovery completed; (3) the risks of establishing liability and damages; (4) the risks of

maintaining the class action through the trial; (5) the lack of any objections; (6) the ability of the

defendants to withstand a greater judgment; and (7) that the Total Settlement Amount is within the

range of reasonableness in light of the best possible recovery and the attendant risks of litigation.

Grinnell, 495 F.2d at 463.

       14.     The Court also finds that the Class’ reaction to the settlement was positive, as no

Class Member objected to the settlement.

       15.     The Court finds that the proposed plan of allocation is rationally related to the

relative strengths and weaknesses of the respective claims asserted. The mechanisms and

procedures set forth in the Agreement by which payments are to be calculated and made to Class

Members who did not timely opt out are fair, reasonable and adequate, and payment shall be made

according to those allocations and pursuant to the procedures as set forth in the Agreement.

       16.     The Court hereby grants Plaintiff’s Motion for Attorneys’ Fees and awards Class

Counsel their requested fees of $317,500, one-third of the Settlement Fund, inclusive of costs and

expenses, which the Court finds to be fair and reasonable based on: (A) the number of hours

worked by Class Counsel during the Litigation; (B) the results achieved on behalf of the Class; (C)

the contingent nature of Class Counsel’s representation; (D) the complexity of the issues raised by



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the Litigation; (E) a lodestar cross check; and (F) Class Counsel’s recognized experience and

expertise in the market. The Court finds Class Counsel’s hourly rates to be reasonable.

       17.     The Court approves and finds reasonable the service award of $5,000 to the Named

Plaintiff in recognition of the services he rendered as Class Representative. This amount shall be

paid from the Settlement Fund, subject to the terms of the Parties’ Settlement Agreement.

       18.     The Court approves and finds reasonable the payment of the Settlement

Administrator’s fees to Advanced Litigation Strategies LLC in the amount of $30,000, which shall

be paid by or on behalf of Defendants, out of the Settlement Fund, according to the terms of the

Parties’ Settlement Agreement.

       19.     The Parties entered into the settlement solely for the purpose of compromising and

settling disputed claims. Neither this Order, Settlement Agreement, General Release Agreement,

nor any other document or information relating to the settlement of this Litigation shall constitute,

be construed to be, or be admissible in any proceeding as evidence (a) that any group of similarly

situated or other employees exists to maintain a collective action under the FLSA, or a class action

under Rule 23 of the Federal Rules of Civil Procedure or a comparable state law or rules, (b) that

any party has prevailed in this case, or (c) that the Defendants or others have engaged in any

wrongdoing.

       20.     This Action is fully and finally dismissed in its entirety and with prejudice.

The Court retains jurisdiction over this Action for the purpose of enforcing the Settlement

Agreement and overseeing the distribution of settlement funds.         The Parties shall abide by

all terms of the Settlement Agreement, which are incorporated herein, and this Order.




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21.    The Clerk of Court is respectfully directed to close all open motions on

this Action's docket.




It is so ORDERED this 12th day of October, 2022.



                                             ____________________________________
                                                 The Honorable Valerie Figueredo
                                                   United States Magistrate Judge




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